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            EXHIBIT G
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Government Accounting etc.
§4
An accounting institution is an organization under a company with responsibilities independent
from all or part of the company's line(s) of business.

Paragraph 2.
In addition, self-governing institutions, etc., which are covered by the accounts are regarded as
accounting institutions as per §2, paragraph. 1, no. 2-3.

Paragraph.3.
An accounting institution manages one or more bookeepings/accounts.

Paragraph.4.
Institutions covered by §2, paragraph 1, no. 4, manage the funds for one or more bookeepings/
accounts.
